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            EXHIBIT (
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From:            Duxstad, Lauren
To:              lmalm@cgsh.com
Cc:              Badini, Aldo; Torpey, Susannah; DalSanto, Matthew; Cui, Mulan; Dan Johnson; Mario Moore; "Valarie Williams";
                 Welch, Emily
Subject:         RE: In re Keurig - Gajarsa Report
Date:            Thursday, December 17, 2020 3:08:00 PM
Attachments:     image001.jpg
                 image002.jpg


Larry,

Following up on the below. Please let us know by COB tomorrow whether Keurig will voluntarily
withdraw Judge Gajarsa’s report. If the answer is no, please provide your availability for a meet and
confer on this issue on Monday.

Best,
Lauren

Lauren E. Duxstad
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F: +1 212-294-4700
winston.com




From: Duxstad, Lauren
Sent: Monday, December 14, 2020 1:46 PM
To: lmalm@cgsh.com
Cc: Badini, Aldo <ABadini@winston.com>; Torpey, Susannah <STorpey@winston.com>; DalSanto,
Matthew R. (MDalSanto@winston.com) <MDalSanto@winston.com>; Cui, Mulan
<MCui@winston.com>; 'Dan Johnson' <dan@danjohnsonlawgroup.com>; Mario Moore
<mario@danjohnsonlawgroup.com>; 'Valarie Williams' <valarie.williams@alston.com>; Welch, Emily
<Emily.Welch@alston.com>
Subject: In re Keurig - Gajarsa Report

Larry,

As you know, when you first designated Judge Arthur Gajarsa as an expert to testify on the
“objective baselessness of Keurig’s prior claims against TreeHouse and JBR,” we asked for a meet
and confer with you to understand what possible basis you had for designating an expert on what is
obviously a question of law and not the proper subject of expert testimony. When we had that meet
and confer on July 8, 2020, you failed to provide us with any authority justifying your planned action
and indicated that you would proceed as indicated, notwithstanding our objections. Consequently,
over protest, Treehouse and McLane disclosed and retained Judge Randall Rader, and Rogers
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disclosed and retained Judge Ware, to counter any proposed testimony that Judge Gajarsa intended
to provide in the highly unlikely event that Judge Gajarsa’s testimony is not excluded.

Now that we have received Judge Gajarsa’s report, we can all see, as expected, that his proffered
testimony is inadmissible, going to questions of law and not related to any scientific or expert field of
study. Please confirm immediately that you will voluntarily withdraw his report. If not, we reserve
all of our rights, including, but not limited to, the right to recover all expert and legal fees expended
in replying to his facially inappropriate and inadmissible opinions.

Best,
Lauren

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